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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                     )
                                                 )
                v.                               )
                                                 )
    RICHARD W. GATES III,                        )             Crim. No. 17-201-2 (ABJ)
                                                 )
                Defendant.                       )



DEFENDANT RICHARD W. GATES III’S MOTION FOR PERMISSION TO TRAVEL TO
     BOSTON, MASSACHUSETTS, FOR HIS CHILDREN’S SPRING BREAK

        Richard W. Gates III, by and through counsel, hereby moves this Court for permission to

travel to Boston, Massachusetts. 1 Mr. Gates hopes to take his children to Boston for their spring

break, which is the week of March 5th. Mr. Gates would travel with his children to Boston,

Massachusetts, on March 2, 2018, and return to Richmond, Virginia, on March 8, 2018.

        The purpose of the trip is for Mr. Gates to show his children around the Boston area to

learn about American history in general, and the Revolutionary War in particular. This proposed

trip cannot take place in Richmond, because it is intended to expose Mr. Gates’s children to

historical sites that can only be visited in Boston. 2 Mr. Gates requests limited permission to

travel to Boston for these limited purposes.

        If this Court grants this limited permission to travel, Mr. Gates will promptly provide

Pretrial Services with specific information about the trip, including more details about the


1
  Mr. Gates originally filed this motion pro se. See Dkt. 193. However, the Court requested that
the motion be refiled by and through counsel. Mr. Gates’s original motion was timely per the
Court’s requirement that any motion seeking permission to travel must be filed one week before
the proposed trip.
2
  See attached Exhibit 1 filed under seal for specific information about the trip’s planned
itinerary.

                                                 1
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manner and times of transportation; the locations that Mr. Gates will be staying; and a list of sites

that he plans to visit. Mr. Gates will also continue to abide by all of his other release conditions,

including reporting to Pretrial Services.

       The government does not oppose Mr. Gates’s request to travel subject to any

requirements set forth by Pretrial Services.

       WHEREFORE, Mr. Gates hereby respectfully moves this Court to grant him permission

to travel according to the limits specified above.


                                                      Respectfully submitted,


                                                      /s/Thomas C. Green
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